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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No.

  CHANIE DEMBITZER,

         Plaintiff,

  v.

  ARRAY BIOPHARMA INC.,
  CARRIE S. COX,
  CHARLES M. BAUM,
  GWEN A. FYFE,
  KYLE A. LEFKOFF,
  JOHN A. ORWIN,
  SHALINI SHARP,
  RON SQUARER, and
  GIL J. VAN LUNSEN,

         Defendants.

                               COMPLAINT AND JURY DEMAND


         Plaintiff Chanie Dembitzer (“Plaintiff”), by and through her undersigned counsel, for her

  complaint against defendants, alleges upon personal knowledge with respect to herself, and upon

  information and belief based upon, inter alia, the investigation of counsel as to all other allegations

  herein, as follows:

                                     NATURE OF THE ACTION

         1.      Plaintiff brings this action against Array BioPharma Inc. (“Array” or the

  “Company”) and the members of its Board of Directors (the “Board” or the “Individual

  Defendants”) for their violations of Sections 14(d)(4), 14(e) and 20(a) of the Securities Exchange

  Act of 1934 (the “Exchange Act”), 15 U.S.C. §§ 78n(d)(4), 78n(e), 78t(a), and U.S. Securities and

  Exchange Commission (“SEC”) Rule 14d-9, 17 C.F.R. § 240.14d-9, and to enjoin the expiration
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  of a tender offer (the “Tender Offer”) on a proposed transaction, pursuant to which Array will be

  acquired by Pfizer Inc. (“Pfizer”) through Pfizer’s wholly owned subsidiary Arlington Acquisition

  Sub Inc. (“Purchaser”) (the “Proposed Transaction”).

         2.      On June 17, 2019, Array and Pfizer issued a joint press release announcing they

  had entered into an Agreement and Plan of Merger dated June 14, 2019 (the “Merger Agreement”)

  to sell Array to Pfizer. Under the terms of the Merger Agreement, on June 28, 2019, Purchaser

  commenced the Tender Offer to purchase all outstanding shares of Array for $48.00 in cash per

  share of Array common stock (the “Offer Price”). The Tender Offer is scheduled to expire at one

  minute after 11:59 p.m. Eastern Time on the date that is twenty (20) business days following

  commencement of the Tender Offer. The Proposed Transaction has a total enterprise value of

  approximately $11.4 billion.

         3.      On June 28, 2019, defendants filed a Solicitation/Recommendation Statement on

  Schedule 14D-9 (the “Recommendation Statement”) with the SEC.               The Recommendation

  Statement, which recommends that Array stockholders tender their shares in favor of the Proposed

  Transaction, omits and/or misrepresents material information concerning, among other things: (i)

  the background of the Proposed Transaction; (ii) Company management’s financial projections;

  and (iii) the valuation analyses prepared by the Company’s financial advisor, Centerview Partners

  LLC (“Centerview”), in connection with rendering its fairness opinion. The failure to adequately

  disclose such material information constitutes a violation of Sections 14(d), 14(e) and 20(a) of the

  Exchange Act as Array stockholders need such information in order to make a fully informed

  decision whether to tender their shares in favor of the Proposed Transaction or seek appraisal.

         4.      In short, unless remedied, Array’s public stockholders will be forced to make a

  tender or appraisal decision on the Proposed Transaction without full disclosure of all material




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  information concerning the Proposed Transaction being provided to them. Plaintiff seeks to enjoin

  the expiration of the Tender Offer unless and until such Exchange Act violations are cured.

                                    JURISDICTION AND VENUE

          5.      This Court has jurisdiction over the claims asserted herein for violations of Sections

  14(d)(4), 14(e) and 20(a) of the Exchange Act and SEC Rule 14d-9 promulgated thereunder

  pursuant to Section 27 of the Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. §1331 (federal

  question jurisdiction).

          6.      This Court has jurisdiction over the defendants because each defendant is either a

  corporation that conducts business in and maintains operations within this District, or is an

  individual with sufficient minimum contacts with this District so as to make the exercise of

  jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.

          7.      Venue is proper in this District pursuant to 28 U.S.C. § 1391 because Plaintiff’s

  claims arose in this District, where a substantial portion of the actionable conduct took place, where

  most of the documents are electronically stored, and where the evidence exists.                 Array is

  headquartered in this District. Moreover, each of the Individual Defendants, as Company officers

  or directors, either resides in this District or has extensive contacts within this District.

                                                PARTIES

          8.      Plaintiff is, and has been continuously throughout all times relevant hereto, the

  owner of Array common stock.

          9.      Defendant Array is a Delaware corporation with its principal executive offices

  located at 3200 Walnut Street, Boulder, Colorado 80301. Array is a biopharmaceutical company

  focused on the discovery, development and commercialization of targeted small molecule drugs

  to treat patients afflicted with cancer. The Company’s common stock is traded on the NASDAQ




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  Global Market under the ticker symbol “ARRY.”

          10.     Defendant Carrie S. Cox (“Cox”) has been a director of the Company and Chair of

  the Board since August 2018.

          11.     Defendant Charles M. Baum (“Baum”) has been a director of the Company since

  April 2014. Defendant Baum previously worked at Pfizer for nine years, including as Senior Vice

  President for Clinical Research within Pfizer’s Worldwide Research & Development division, and

  as Vice President and Head of Oncology Development and Chief Medical Officer for Pfizer’s

  Biotherapeutics and Bioinnovation Center.

          12.     Defendant Gwen A. Fyfe (“Fyfe”) has been a director of the Company since

  January 2012.

          13.     Defendant Kyle A. Lefkoff (“Lefkoff”) has been a director of the Company since

  May 1998. Defendant Lefkoff previously served as Chairman of the Board from May 1998 to

  January 2012 and from April 2012 to August 2018. From January to April 2012, defendant Lefkoff

  served as interim Executive Chairman. Since 1995, defendant Lefkoff has been a General Partner

  of Boulder Ventures, Ltd., a venture capital firm and prior investor in Array.

          14.     Defendant John A. Orwin (“Orwin”) has been a director of the Company since

  November 2012.

          15.     Defendant Shalini Sharp (“Sharp”) has been a director of the Company since April

  2017.

          16.     Defendant Ron Squarer (“Squarer”) has been Chief Executive Officer (“CEO”) and

  a director of the Company since April 2012.

          17.     Defendant Gil J. Van Lunsen (“Van Lunsen”) has been a director of the Company

  since October 2002.




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         18.     Defendants identified in paragraphs 10 to 17 are collectively referred to herein as

  the “Board” or the “Individual Defendants.”

                                 OTHER RELEVANT ENTITIES

         19.     Pfizer is a Delaware corporation with its principal executive offices located at 235

  East 42nd Street, New York, New York 10017.                 Pfizer is a research-based global

  biopharmaceutical company. Pfizer’s common stock is traded on the New York Stock Exchange

  under the ticker symbol “PFE.”

         20.     Purchaser is a Delaware corporation and wholly owned subsidiary of Pfizer.

                                SUBSTANTIVE ALLEGATIONS

  Background of the Company and the Proposed Transaction

         21.     Array is a fully integrated biopharmaceutical company focused on the discovery,

  development, and commercialization of transformative and well-tolerated targeted small molecule

  drugs to treat patients afflicted with cancer and other high-burden diseases. The Company’s lead

  clinical programs, encorafenib and binimetinib, are being investigated in over 30 clinical trials

  across a number of solid tumor indications, including a Phase 3 trial in BRAF-mutant metastatic

  colorectal cancer (“mCRC”). Array’s pipeline also includes several programs in registration trials

  being advanced by Array or its current license-holders.

         22.     Array markets BRAFTOVI (encorafenib) capsules in combination with MEKTOVI

  (binimetinib) tablets for the treatment of patients with unresectable or metastatic melanoma with

  a BRAFV600E or BRAFV600K mutation. BRAFTOVI and MEKTOVI were available for sale

  beginning on July 2, 2018. On August 7, 2018, the Company announced it had received

  Breakthrough Therapy Designation from the U.S. Food and Drug Administration (“FDA”) for

  BRAFTOVI in combination with MEKTOVI and cetuximab for the treatment of patients with

  BRAFV600E-mutant mCRC. In the press release, Victor Sandor (“Sandor”), the Company’s Chief


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  Medical Officer commented on the positive news, stating:

         We are delighted that the FDA has recognized the potential of this combination for
         patients with BRAFV600E-mutant metastatic colorectal cancer. . . . As there are no
         regimens approved specifically for BRAFV600E-mutant mCRC, this designation
         provides us with the opportunity to work closely with the FDA to potentially
         accelerate our effort to bring an important treatment option to these patients in
         critical need.

         23.     On March 18, 2019, Array announced that the National Comprehensive Cancer

  Network updated its Clinical Practice Guidelines in oncology for Colon and Rectal Cancer to

  include BRAFTOVI in combination with MEKTOVI and ERBITUX (cetuximab) or panitumumab

  as a Category 2a treatment for patients with BRAFV600E-mutant mCRC, after failure of one or two

  prior lines of therapy for metastatic disease.

         24.     Array has exclusive rights to BRAFTOVI and MEKTOVI in the U.S. and Canada.

  The Company has granted Ono Pharmaceutical Co., Ltd. exclusive rights to commercialize both

  products in Japan and South Korea, Medison Pharma Ltd. exclusive rights to commercialize both

  products in Israel, and Pierre Fabre Medicament SAS exclusive rights to commercialize both

  products in all other countries, including those in Europe, Asia and Latin America.

         25.     On June 14, 2019, Array’s Board caused the Company to enter into the Merger

  Agreement with Pfizer.

         26.     On June 17, 2019, Array and Pfizer issued a joint press release announcing the

  Proposed Transaction. The press release stated, in relevant part:

         NEW YORK & BOULDER, Colo--Pfizer Inc. (NYSE: PFE) and Array BioPharma
         Inc. (NASDAQ: ARRY) today announced that they have entered into a definitive
         merger agreement under which Pfizer will acquire Array, a commercial stage
         biopharmaceutical company focused on the discovery, development and
         commercialization of targeted small molecule medicines to treat cancer and other
         diseases of high unmet need. Pfizer has agreed to acquire Array for $48 per share
         in cash, for a total enterprise value of approximately $11.4 billion. The Boards of
         Directors of both companies have approved the merger.




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       Array’s      portfolio    includes   the    approved      combined       use    of
                    ®                                ®
       BRAFTOVI (encorafenib) and MEKTOVI (binimetinib) for the treatment
       of BRAFV600E or BRAFV600K mutant unresectable or metastatic melanoma. The
       combination therapy has significant potential for long-term growth via expansion
       into additional areas of unmet need and is currently being investigated in over 30
       clinical trials across several solid tumor indications, including the Phase 3
       BEACON trial in BRAF-mutant metastatic colorectal cancer (mCRC).

       In the U.S., colorectal cancer is the third most common type of cancer in men and
       women. An estimated 140,250 patients were diagnosed with cancer of the colon or
       rectum in 2018, and approximately 50,000 are estimated to die of their disease each
       year.1 BRAF mutations are estimated to occur in up to 15% of colorectal cancer
       cases and represent a poor prognosis for these patients.

       “Today’s announcement reinforces our commitment to deploy our capital to bring
       breakthroughs that change patients’ lives while creating shareholder value,” said
       Albert Bourla, chief executive officer of Pfizer. “The proposed acquisition of Array
       strengthens our innovative biopharmaceutical business, is expected to enhance its
       long-term growth trajectory, and sets the stage to create a potentially industry-
       leading franchise for colorectal cancer alongside Pfizer’s existing expertise in
       breast and prostate cancers.”

       In addition to the combination therapy for BRAF-mutant metastatic melanoma,
       Array brings a broad pipeline of targeted cancer medicines in development, as well
       as a portfolio of out-licensed potentially best-in-class and/or first-in-class
       medicines, which are expected to generate significant royalties over time.

       “We are incredibly proud that Pfizer has recognized the value Array has brought to
       patients and our remarkable legacy discovering and advancing molecules with great
       potential to impact and extend the lives of patients in critical need,” said Ron
       Squarer, Array chief executive officer. “Pfizer shares our commitment to patients
       and a passion for advancing science to develop even more options for individuals
       with unmet needs. We’re excited our team will have access to world-class resources
       and a broader research platform to continue this critical work.”

       In May 2019, Array announced results from the interim analysis of the Phase 3
       BEACON mCRC trial: The second-or-third-line treatment with the BRAFTOVI
       triplet combination (BRAFTOVI + MEKTOVI + cetuximab) showed statistically
       significant improvement in overall response rate and overall survival compared to
       the control group, reducing the risk of death by 48%. The triplet combination could
       be the first chemotherapy-free, targeted regimen for patients with BRAF-mutant
       mCRC. Array intends to submit these data for regulatory review in the United
       States in the second half of 2019.

       “We are very excited by Array’s impressive track record of successfully
       discovering and developing innovative small-molecules and targeted cancer



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         therapies,” said Mikael Dolsten, Pfizer chief scientific officer and president,
         Worldwide Research, Development and Medical. “With Array’s exceptional
         scientific talent and innovative pipeline, combined with Pfizer’s leading research
         and development capabilities, we reinforce our commitment to advancing the most
         promising science, regardless of whether it is found inside or outside of our labs.”

         Upon the close of the transaction, Array’s employees will join Pfizer and continue
         to be located in Cambridge, Massachusetts and Morrisville, North Carolina, as well
         as Boulder, Colorado, which becomes part of Pfizer’s Oncology Research &
         Development network in addition to La Jolla, California and Pearl River, New
         York.

         Pfizer expects to finance the majority of the transaction with debt and the balance
         with existing cash. The transaction is expected to be dilutive to Pfizer’s Adjusted
         Diluted EPS by $0.04 -$0.05 in 2019, $0.04 -$0.05 in 2020, neutral in 2021, and
         accretive beginning in 2022, with additional accretion and growth anticipated
         thereafter. Pfizer will provide any appropriate updates to its current 2019 guidance
         in conjunction with its third quarter 2019 earnings release.

         Under the terms of the merger agreement, a subsidiary of Pfizer will commence a
         cash tender offer to purchase all outstanding shares of Array common stock for $48
         per share in cash for a total enterprise value of approximately $11.4 billion. The
         closing of the tender offer is subject to customary closing conditions, including
         regulatory approvals and the tender of a majority of the outstanding shares of Array
         common stock (on a fully-diluted basis). The merger agreement contemplates that
         Pfizer will acquire any shares of Array that are not tendered into the offer through
         a second-step merger, which will be completed promptly following the closing of
         the tender offer. Pfizer expects to complete the acquisition in the second half of
         2019.
  Insiders’ Interests in the Proposed Transaction

         27.     Array insiders are the primary beneficiaries of the Proposed Transaction, not the

  Company’s public stockholders. The Board and the Company’s executive officers are conflicted

  because they will have secured unique benefits for themselves from the Proposed Transaction not

  available to Plaintiff and the public stockholders of Array.

         28.     Notably, it appears that certain Company insiders have secured positions with the

  combined company upon consummation of the Proposed Transaction. For example, the June 17,

  2019 press release announcing the Proposed Transaction notes, “[u]pon the close of the

  transaction, Array’s employees will join Pfizer. . . .”


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         29.     Company insiders also stand to receive substantial financial benefits for securing

  the deal with Pfizer. Prior to entering into the Merger Agreement and in connection with the

  Proposed Transaction, the executive committee of the Board approved a cash retention pool for

  certain employees of Array, including the executive officers.

         30.     Further, according to the Merger Agreement, each Company compensatory option

  to purchase shares and each restricted stock unit, whether or not vested, will be converted into the

  right to receive cash payments. The following table sets forth the cash payments the Company’s

  directors and named executive officers stand to receive in connection with their equity awards:




         31.     Moreover, if they are terminated in connection with the Proposed Transaction,

  Array’s named executive officers stand to receive substantial cash severance payments in the form

  of golden parachute compensation, as set forth in the following table:




  The Recommendation Statement Contains Numerous Material Misstatements or Omissions




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         32.     The defendants filed a materially incomplete and misleading Recommendation

  Statement with the SEC and disseminated it to Array’s stockholders. The Recommendation

  Statement misrepresents or omits material information that is necessary for the Company’s

  stockholders to make an informed tender or appraisal decision in connection with the Proposed

  Transaction.

         33.     Specifically, as set forth below, the Recommendation Statement fails to provide

  Company stockholders with material information or provides them with materially misleading

  information concerning: (i) the background of the Proposed Transaction; (ii) the financial

  projections relied upon by the Company’s financial advisor, Centerview, in its financial analyses;

  and (iii) the valuation analyses prepared by Centerview in connection with the rendering of its

  fairness opinion. Accordingly, Array stockholders are being asked to make a tender or appraisal

  decision in connection with the Proposed Transaction without all material information at their

  disposal.

  Material Omissions Concerning the Background of the Proposed Transaction

         34.     First, the Recommendation Statement omits material information regarding the

  background of the Proposed Transaction.

         35.     Critically, the Recommendation Statement fails to expressly indicate whether the

  confidentiality agreement Array entered into with a global pharmaceutical company referred to in

  the Recommendation Statement as “Party B” includes a standstill provision that is still in effect

  and/or contains a “don’t ask, don’t waive” (“DADW”) standstill provision that is presently

  precluding Party B from making a topping bid for the Company.

         36.     The disclosure of the terms of any standstill provisions in the confidentiality

  agreements Array entered into with potential buyers is crucial to Array stockholders being fully




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  informed of whether their fiduciaries have put in place restrictive devices to foreclose a topping

  bid for the Company.

         37.     The omission of this information renders the statements in the “Background of the

  Offer and the Merger” section of the Recommendation Statement false and/or materially

  misleading in contravention of the Exchange Act.

  Material Omissions Concerning Array’s Financial Projections

         38.     The Recommendation Statement is materially deficient because it fails to disclose

  material information relating to Array management’s financial projections.

         39.     With respect to the Company’s October 2018 Forecasts, June 2 Forecasts, and June

  14 Forecasts, the Recommendation Statement fails to disclose: (i) all line items used to calculate

  EBIT; and (ii) all line items used to calculate unlevered free cash flow.

         40.     The disclosure of projected financial information is material because it provides

  stockholders with a basis to project the future financial performance of a company, and allows

  stockholders to better understand the financial analyses performed by the company’s financial

  advisor in support of its fairness opinion.

         41.     The omission of this information renders the statements in the “Certain Financial

  Projections” section of the Recommendation Statement false and/or materially misleading in

  contravention of the Exchange Act.

  Material Omissions Concerning Centerview’s Financial Analyses

         42.     The Recommendation Statement describes Centerview’s fairness opinion and the

  various valuation analyses it performed in support of its opinion. However, the description of

  Centerview’s fairness opinion and analyses fails to include key inputs and assumptions underlying

  these analyses. Without this information, as described below, Array’s public stockholders are




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  unable to fully understand these analyses and, thus, are unable to determine what weight, if any,

  to place on Centerview’s fairness opinion in determining whether to tender their shares in favor of

  the Proposed Transaction or seek appraisal.       This omitted information, if disclosed, would

  significantly alter the total mix of information available to Array’s stockholders.

         43.      With    respect   to   Centerview’s    Discounted    Cash    Flow     Analysis,   the

  Recommendation Statement fails to disclose: (i) all line items used to calculate unlevered free cash

  flow; (ii) Centerview’s basis for assuming that unlevered free cash flows would decline in

  perpetuity after June 30, 2037 at a rate of 80.0% year-over-year; and (iii) quantification of the

  individual inputs and assumptions underlying the range of discount rates from 9.5% to 11.5%.

         44.     With respect to Centerview’s Analyst Price Target Analysis, the Recommendation

  Statement fails to disclose: (i) the individual price targets observed by Centerview in the analysis;

  and (ii) the sources thereof.

         45.     With respect to Centerview’s Premiums Paid Analysis, the Recommendation

  Statement fails to disclose the premiums paid in the transactions observed by Centerview in the

  analysis.

         46.     When a banker’s endorsement of the fairness of a transaction is touted to

  shareholders, the valuation methods used to arrive at that opinion as well as the key inputs and

  range of ultimate values generated by those analyses must also be fairly disclosed.

         47.     The omission of this information renders the statements in the “Certain Financial

  Projections” and “Opinion of Array’s Financial Advisor” sections of the Recommendation

  Statement false and/or materially misleading in contravention of the Exchange Act.

         48.     The Individual Defendants were aware of their duty to disclose this information

  and acted negligently (if not deliberately) in failing to include this information in the




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  Recommendation Statement. Absent disclosure of the foregoing material information prior to the

  expiration of the Tender Offer, Plaintiff and the other stockholders of Array will be unable to make

  a fully-informed decision whether to tender their shares in favor of the Proposed Transaction or

  seek appraisal and are thus threatened with irreparable harm warranting the injunctive relief sought

  herein.

                                        CLAIMS FOR RELIEF

                                                 COUNT I

                           Claims Against All Defendants for Violations
                     of Section 14(d) of the Exchange Act and SEC Rule 14d-9

            49.   Plaintiff repeats all previous allegations as if set forth in full.

            50.   Defendants have caused the Recommendation Statement to be issued with the

  intention of soliciting Array stockholders to tender their shares in the Tender Offer.

            51.   Section 14(d)(4) of the Exchange Act and SEC Rule 14d-9 promulgated thereunder

  require full and complete disclosure in connection with tender offers.

            52.   The Recommendation Statement violates Section 14(d)(4) and Rule 14d-9 because

  it omits material facts, including those set forth above, which omission renders the

  Recommendation Statement false and/or misleading.

            53.   Defendants knowingly or with deliberate recklessness omitted the material

  information identified above from the Recommendation Statement, causing certain statements

  therein to be materially incomplete and therefore misleading.                Indeed, while defendants

  undoubtedly had access to and/or reviewed the omitted material information in connection with

  approving the Proposed Transaction, they allowed it to be omitted from the Recommendation

  Statement, rendering certain portions of the Recommendation Statement materially incomplete

  and therefore misleading.



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          54.       The misrepresentations and omissions in the Recommendation Statement are

  material to Plaintiff and the other stockholders of Array, who will be deprived of their right to

  make an informed decision whether to tender their shares if such misrepresentations and omissions

  are not corrected prior to the expiration of the Tender Offer. Plaintiff has no adequate remedy at

  law. Only through the exercise of this Court’s equitable powers can Plaintiff and the other Array

  stockholders be fully protected from the immediate and irreparable injury that defendants’ actions

  threaten to inflict.

                                                  COUNT II

       Claims Against All Defendants for Violations of Section 14(e) of the Exchange Act

          55.       Plaintiff repeats all previous allegations as if set forth in full.

          56.       Defendants violated Section 14(e) of the Exchange Act because they negligently

  caused or allowed the Recommendation Statement to be disseminated to Array’s public

  stockholders in order to solicit them to tender their shares in the Tender Offer, in which they made

  untrue statements of material facts or failed to state all material facts necessary in order to make

  the statements made, in light of the circumstances under which they are made, not misleading.

          57.       Defendants were negligent in allowing the Recommendation Statement to be

  disseminated with the above-referenced materially misleading statements regarding the

  background of the Proposed Transaction, the Company’s projections and the valuation analyses

  underlying Centerview’s fairness opinion. As directors and officers of Array, the Individual

  Defendants had a duty to carefully review the Recommendation Statement before it was

  disseminated to the Company’s stockholders to ensure it did not contain untrue statements of

  material fact and did not omit material facts. The Individual Defendants were negligent in carrying

  out their duty.




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         58.     Array is imputed with the negligence of the Individual Defendants, who are each

  directors and/or officers of Array.

         59.     As a direct and proximate result of these defendants’ negligent course of conduct

  in violation of Section 14(e) of the Exchange Act, absent injunctive relief from the Court, Plaintiff

  has sustained and will continue to sustain irreparable injury by being denied the opportunity to

  make an informed decision in deciding whether or not to tender her shares.

                                               COUNT III

                           Claims Against the Individual Defendants for
                           Violation of Section 20(a) of the Exchange Act

         60.     Plaintiff repeats all previous allegations as if set forth in full.

         61.     The Individual Defendants acted as controlling persons of Array within the

  meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

  officers or directors of Array and participation in or awareness of the Company’s operations or

  intimate knowledge of the false statements contained in the Recommendation Statement filed with

  the SEC, they had the power to influence and control and did influence and control, directly or

  indirectly, the decision-making of the Company, including the content and dissemination of the

  various statements which Plaintiff contends are false and misleading.

         62.     Each of the Individual Defendants was provided with or had unlimited access to

  copies of the Recommendation Statement and other statements alleged by Plaintiff to be

  misleading prior to or shortly after these statements were issued and had the ability to prevent the

  issuance of the statements or cause the statements to be corrected.

         63.     In particular, each of the Individual Defendants had direct and supervisory

  involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

  the power to control or influence the particular transactions giving rise to the securities violations



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  as alleged herein, and exercised the same. The Recommendation Statement at issue contains the

  unanimous recommendation of each of the Individual Defendants to approve the Proposed

  Transaction. They were, thus, directly involved in the making of this document.

         64.     In addition, as the Recommendation Statement sets forth at length, and as described

  herein, the Individual Defendants were each involved in negotiating, reviewing, and approving the

  Proposed Transaction. The Recommendation Statement purports to describe the various issues

  and information that they reviewed and considered — descriptions which had input from the

  Individual Defendants.

         65.     By virtue of the foregoing, the Individual Defendants have violated section 20(a)

  of the Exchange Act.

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiff demands injunctive relief, in her favor and against defendants as

  follows:

         A.      Preliminarily and permanently enjoining defendants and all persons acting in

  concert with them from proceeding with, consummating, or closing the Proposed Transaction;

         B.      In the event defendants consummate the Proposed Transaction, rescinding it and

  setting it aside or awarding rescissory damages to Plaintiff;

         C.      Awarding Plaintiff the costs of this action, including reasonable allowance for

  Plaintiff’s attorneys’ and experts’ fees; and

         D.      Granting such other and further relief as this Court may deem just and proper.




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                                          JURY DEMAND

         Plaintiff demands a trial by jury on all claims and issues so triable.



   Dated: July 12, 2019                              Respectfully submitted,

                                                     /s/ Richard A. Acocelli
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